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                                            NOT FOR PUBLICATION                             FILED
                                     UNITED STATES COURT OF APPEALS                         NOV 29 2024
                                                                                         MOLLY C. DWYER, CLERK
                                                                                          U.S. COURT OF APPEALS
                                            FOR THE NINTH CIRCUIT

              UNITED STATES OF AMERICA,                         No. 23-4284
                                                                D.C. No.
                              Plaintiff - Appellee,             2:20-cr-00092-JCC-3
                v.
                                                                MEMORANDUM*
              LUIS ARTURO MAGANA-
              RAMIREZ, AKA Guero,

                              Defendant - Appellant.

                                    Appeal from the United States District Court
                                      for the Western District of Washington
                                   John C. Coughenour, District Judge, Presiding

                                           Submitted November 20, 2024**

              Before:         CANBY, TALLMAN, and CLIFTON, Circuit Judges.

                        Luis Arturo Magana-Ramirez appeals from the district court’s judgment and

              challenges the 204-month sentence imposed following his guilty-plea conviction

              for conspiracy to distribute controlled substances, in violation of 21 U.S.C.



                        *
                           This disposition is not appropriate for publication and is not precedent
              except as provided by Ninth Circuit Rule 36-3.
                        **
                           The panel unanimously concludes this case is suitable for decision
              without oral argument. See Fed. R. App. P. 34(a)(2).
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              §§ 841(a)(1), (b)(1)(A) and 846, and being an illegal alien in possession of a

              firearm and ammunition, in violation of 18 U.S.C. § 922(g)(5)(A).

                        The district court imposed concurrent sentences of 204 months’

              imprisonment and 5 years’ supervised release on each count. As the parties agree,

              that sentence exceeds the statutory maximum applicable to the § 922(g)(5)(A)

              count. Accordingly, we vacate the custodial sentence and supervised release term

              on the § 922(g)(5)(A) count and remand for the district court to enter an amended

              judgment imposing a sentence at or below the applicable statutory maximum for

              that count. Contrary to Magana-Ramirez’s argument, there is no cause to vacate

              the statutorily authorized 204-month custodial sentence and 5-year supervised

              release term on the drug count, which is the sentence the court intended to impose

              on that count. See United States v. Halamek, 5 F.4th 1081, 1091 (9th Cir. 2021).

                        VACATED in part and REMANDED.




                                                        2                                 23-4284
